                 Case 04-77204-pwb                     Doc 31           Filed 06/17/08 Entered 06/17/08 14:41:06                                     Desc
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                                                       UNITED SATES BANKRUPTCY COURT
                                                         NORTH DISTRICT OF GEORGIA
                                                               ATLANTA DIVISION
 In Re:                                                                                                                                  Case No. A04-77204-PWB
   CHARLES STEPHEN AWBREY
   P.O. BOX 1683
   LAWRENCEVILLE, GA 30046




   SSN#1: XXX-XX-9331

                                                              FINAL REPORT AND ACCOUNT
Case Filed On: 10/18/2004              Plan Confirmed Date: 01/13/2005                 Case concluded on: 05/01/2008

THIS CASE IS DISMISSED AFTER CONFIRMATION.
Mary Ida Townson has maintained a detailed record of all receipts, including the source or other identification of each receipt and of all disbursements.
Copies of these detailed records are incorporated by reference in this report.

DIVIDENDS TO UNSECURED CREDITORS.... 1.00 %

RECEIPTS: $19,910.00
Amount paid to the Trustee by or for the Debtor for the benefit of creditors.


DISBURSEMENTS TO CREDITORS:                                    CLAIM              PRIN              INT          TOTAL PAID               PAID              PRINCIPAL
                                                              AMOUNT              PAID             PAID          BY TRUSTEE              DIRECT              BALANCE

GENERAL MOTORS ACCEPTANCE CORP                    U            $6,464.44             $0.00           $0.00               $0.00               $0.00             $64.64
GWINNETT SUPERIOR COURT                           P           $11,748.05        $11,358.02           $0.00         $11,358.02                $0.00            $390.03
INTERNAL REVENUE SERVICE                          P            $2,918.81         $2,819.86           $0.00           $2,819.86               $0.00             $98.95
INTERNAL REVENUE SERVICE                          U            $1,068.19             $0.00           $0.00               $0.00               $0.00             $10.68
SCHEDULED CREDITOR                                S                 $0.00            $0.00           $0.00               $0.00               $0.00              $0.00
SELECT PORTFOLIO SERVICING                        S           $14,956.28         $3,220.30           $0.00           $3,220.30         $11,735.98               $0.00

SUMMARY OF CLAIMS ALLOWED AND PAID:
                                          SECURED                      PRIORITY                 GENERAL U/S                DEBTOR REFUND                      TOTAL

Amt Allowed                              $14,956.28                $14,666.86                    $7,532.63                                $0.00              $37,155.77
Principal Paid                            $3,220.30                $14,177.88                        $0.00                                $0.00              $17,398.18
Interest Paid                                 $0.00                     $0.00                        $0.00                                                        $0.00
Direct Paid                              $11,735.98                   $400.00                        $0.00                                                   $12,135.98

TOTAL PAID PLUS PAID DIRECT $29,534.16

COURT COSTS AND OTHER EXPENSES OF ADMINISTRATION
Filing                 Noticing                          Trustee
Expense                Expense                           Expense
$0.00                  $0.00                             $911.82


OTHER DISBURSEMENTS UNDER ORDER OF THE COURT:
Debtor's Attorney                                      Fee Allowed       Fee Paid
DANIEL E. RASKIN, ATTY.                                  $1,600.00        $1,600.00




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WHEREFORE, Mary Ida Townson respectfully shows this Court that the estate has been properly and fully administered in
accordance with the requirements of the Bankruptcy Code and Rules, and the estate is ready for closing, and prays that a Final
Decree be entered discharging the Trustee and closing the estate, and granting such other and further relief as the Court may deem
just and proper.

Dated: 06/17/2008
                                                                               /s/
                                                                   Mary Ida Townson, Chapter 13 Trustee
                                                                   State Bar No. 715063




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